Case: 1:10-cv-O4603 Document #: 111 Filed: 04/11/12 Page 1 of 10 Page|D #:487

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION
DON LIPPERT, )
Plaintit`f, )
v. ) No. 10-CV-4603
SALVADOR GODINEZ, )
PARTHA GHOSH, M.D., W[LLARD ELYEA, )
JOSEPH SSENFUMA, LOUIS SHICKER, ) Judge Ruben Castillo
QUENTIN TANNER, ADRIAN BACOT, ) Magistrate ludge Morton Denlow
LANEL PALMER, ALPHONSO NORMAN, )
MARTHA MALDONADO, LIPING ZHANG, )
M.D., GLORlA BRESKE, ATHENA )
ROSSITER, ILLINOIS DEPARTMENT )
OF CORRECTIONS, and WEXFORD HEALTH )
SOURCES, INC., )
Defendants. )

STIPULATED PROTECTIVE ORDER
To facilitate the production and receipt of information in this action, Plaintift`, Det`endants
and the Illinois Department of Corrections (“Department”) (collectively the “Parties” or
individually a “Party”) stipulate and agree, through their respective counsel, to the entry of the
following Order pursuant to Federal Rule of Civil Procedure 26(c), for the protection of
confidential and sensitive information that may be produced or otherwise disclosed during the
course of this action by any party or non-party in this action:

l. Documents and things produced during the course of discovery deemed by the
party or non-party producing or disclosing the documents and things (the “Disclosing Party“) to
contain confidential information shall mean: employment, disciplinary, financial, medical, or other
information that is ol`a sensitive or non-public nature regarding defendants, non-party Witnesses and

non-party employees of the Illinois Departrnent of Corrections and Wexford Health Sources, bic. that

rnay be subject to discovery in this action, Illinois Departrnent of Corrections’ and Wexford Health

 

 

 

Oase: 1:10-cv-O4603 Document #: 111 Filed: 04/11/12 Page 2 of 10 Page|D #:488

Sources, lnc.’s policies, recordings, personnel files, disciplinary actions, histories, photographs of
Correctional Employees, descriptions of job assignments, files generated by the investigation of
complaints of misconduct and related information that are protected by the Illi`nois Personnel
Recom’s Revr'ew Acr, 820 ILCS 40/0.01, er seq. (West 2010) and Section 7 of the Illt`nois Freedom
offnformazion Aci’, 5 ILCS 140/l et seq. (West 2010), as Well as personal and family information
of Illinois Department of Corrections and Wexford Health Sources, Inc. employees, including
residential inforrnation, if disclosed, could compromise the safety and security of the employees
and/or the facilities in Which they work. To the extent that such items above are protected, they may
be designated as confidential by the Disclosing Party by marking the document or thing with the
legend "CONFIDENTIAL" or "ATTORNEY'S EYES ONLY," as the Disclosing Party deems
appropriate pursuant to the terms of this Order.

2. Materials designated “CON'FIDENTLAL", copies thereof, and any confidential
information contained therein shall not be disclosed to any person except:

(a) the Court, its officers, and any jury seated to hear this case;

(b) the attorneys of record in this case, employees of the attorneys of record
engaged in this action, and outside litigation support providers retained by the attorneys of record,
such as computer evidence service providers, graphics services, trial technology companies,
photo graphers, video graphers, and similar support providers, all of whom shall use such information
solely for purposes of this litigation, provided that each outside litigation support provider signs a
confidentiality agreement in the form attached hereto as Exhibit "A" prior to receiving any
CONFlDENTIAL inforrnation, documents or things;

(c) third party experts or independent consultants engaged by the attorneys of

record in this case or by the parties to assist in this litigation (“Experts”), who shall use such

 

 

 

Case: 1:10-cv-04603 Document #: 111 Filed: 04/11/12 Page 3 of 10 Page|D #:489

information solely for purposes of this litigation, provided that each Expert signs a confidentiality
agreement in the form attached hereto as Exhibit "A" prior to receiving any CONFIDENTIAL
inforrnation, documents or things;

(d) the Parties, and with respect to Defendants, the Department, the Illinois
Attomey Generai’s Office, any Assistant Attorney General with the need to see the confidential
information, who shall use such information solely for purposes of this litigation; and

(c) witnesses or deponents whose testimony is reasonably related to the
confidential information sought to be disclosed to him or her, provided that each such person signs
a confidentiality agreement in the form attached hereto as Exhibit "A" prior to receiving any
CONFIDENT]AL information, documents or things;.

3. Materials designated "ATTORNEY'S EYES ONLY", copies thereof, and any
confidential information contained therein shall not be disclosed to any person except

(a) the Court, its officers, and any jury seated to hear this case;

(b) the attorneys of record in this case, and employees of the attorneys of record
engaged in this action, who shall use such information solely for purposes of this litigation, provided
that the employee signs a confidentiality agreement in the form attached hereto as Exhibit "A" prior
to receiving any ATTOR_NEYS EYES ONLY information, documents or things; and

(c) Experts, who shall use such information solely for purposes of this litigation,
provided that the Disclosing Party and the Expert comply with all requirements of Paragraph 2(c)
above.

4. Under no circumstances shall the attomey of record receiving information designated

as “ATTORNEYS EYES ONLY” disclose such information to his or her client(s) or allow his or

her client(s) access to such information.

 

 

 

Oase: 1:10-cv-04603 Document #: 111 Filed: 04/11/12 Page 4 of 10 Page|D #:490

5. Under no circumstances shall any information marked “CONFIDENTIAL” or
“ATTORNEY’S EYES ONLY” be disseminated by any person to any current or former inmate of
the Department ofCorrections, with the exception that materials shall not include those documents
to which Plaintiff has a right to possession, including without limitation, records of administrative
grievance and review proceedings, documents prepared by or previously provided to Plaintiff, and
medical records of the Plaintiff.

6. With regard to marking documents and things with the appropriate confidentiality
classification, each page of the document that contains confidential information shall be so
marked in a prominent location and, in the case of a thing, the legend shall be securely affixed to
the thing in a prominent location.

7. Any written discovery response containing confidential information shall be
marked with the legend “CONFIDENTIAL" or "ATTORNEY‘S EYES ONLY," as appropriate,
and shall be bound separately from responses not containing confidential information.

8. Notwithstanding the other provisions of this order, the Parties may redact any
portions of documents and other information that contain personal information including horne
addresses, telephone numbers, social security numbers, dates of birth, medical records, and
mental health records, of any person, including but not limited to present inmates, former
inmates, alleged offenders named in police reports, Department employees, family members of
employees or inmates, volunteers, and victims, unless the information is directly relevant to the
litigation

9. In the event a question is asked at a deposition which calls for the disclosure of

confidential information, counsel for the Party claiming confidentiality may designate the

question and answer thereto as confidential by making, at the deposition, a statement on the

 

 

 

Case: 1:10-cv-04603 Document #: 111 Filed: 04/11/12 Page 5 of 10 Page|D #:491

record so designating such portions and by directing the reporter to bind such confidential
portions of the transcript in a separate binder or on separate transcript pages prominently marked
with the legend "CONFIDENTLAL“ or "ATTORNEY'S EYES ONLY,“ as appropriate The
Disclosing Party may exclude from the deposition any individual not entitled to access to the
Disclosing Party’s CONF]DENTIAL or ATTORNEY’S EYES ONLY information during
portions of any deposition during which such information will be disclosed

lO. Nothing contained in the foregoing paragraphs shall prohibit a Party from
designating any document, thing, testimony or information as "CONFIDENTIAL" or
"ATTORNEY‘S EYES ONLY" subsequent to its first disclosure or production, provided,
however, that any such subsequent designation: (a) must be in writing; (b) must specifically
identify the document, thing, testimony or information so designated; and (c) shall only apply to
the treatment and disclosure of such documents, things, testimony or information by the
receiving party after such written designation is received by the receiving Party.

l l. Counsel for the receiving party shall maintain the original of each confidentiality
agreement signed pursuant to this Order and shall promptly forward a copy thereof to counsel for
the Disclosing Party upon request.

12. The Parties shall make every reasonable effort to act in good faith to limit and
curtail the volume of information, documents, things, testimony or other materials designated by
them as “CONFIDENTIAL" or "ATTORNEY'S EYES ONLY" under this Order; shall use their
best efforts to act in good faith to separate out and segregate documents, things and other
materials containing confidential information from those that do not contain confidential

information; shall use their best efforts to act in good faith to limit the number of persons to

whom confidential information is to be disclosed; and shall confer with each other in good faith

 

 

 

Case: 1:10-cv-04603 Document #: 111 Filed: 04/11/12 Page 6 of 10 Page|D #:492

for the purpose of attempting to limit and curtail the volume of information and materials to be
so designated

l3. Nothing in this Order shall be taken as or constitute an indication or
acknowledgment by the receiving party that any inforrnation, documents, testimony or things are
in fact confidential or are entitled to confidential treatment. To the extent the receiving party
disagrees with the designation of any infonnation, documents, testimony or things as
CONFIDENTIAL or ATTORNEY'S EYES ONLY, the party shall confer in good faith with the
Disclosing Party in an effort to resolve the disagreement If the parties are unable to resolve the
disagreement following such good faith conference, the receiving party may seek an order from
the Court at any time thereafter striking the designation at issue and determining that the
information, documents, testimony or things are not entitled to the protection under this Order.
ln any such motion or challenge, the Disclosing Party shall bear the burden of demonstrating that
such information, documents, testimony or things meet the standards of Federal Rule of Civil
Procedure 26(c)(7) and are entitled to protection under this Order. Inforination and materials
designated as "CONFIDENTIAL" or "ATTORNEY‘S EYES ONLY" shall, however, remain
subject to the provisions of this Order unless and until the Court determines that such materials
are not entitled to such protection.

l4i All discovery materials designated as "CONFIDENTIAL" or "ATTORNEY'S
EYES ONLY" that are filed with the Court, and all pleadings, motions or other papers filed with
the Court that contain or disclose confidential information, shall be filed in sealed envelopes
bearing an appropriate legend identifying the enclosed materials and indicating their confidential

nature under the terms of this Stipulated Protective Order, and shall be kept under seal until

further Order of the Court; provided, however, that such information shall be available to the

 

 

 

Oase: 1:10-cv-04603 Document #: 111 Filed: 04/11/12 Page 7 of 10 Page|D #:493

Court and to persons listed in paragraphs 2 or 3 above, as appropriate given the nature of the
confidentiality legend affixed to the information Notwithstanding the foregoing, if a Party
wishes to use or reference during any hearing or at trial any material designated by the Disclosing
Party as "CONFIDENTIAL" or "ATTORNEY'S EYES ONLY," the party shall disclose the
information only in closed court, absent subsequent agreement of the parties or order of this
Court.

15. Upon final termination of this litigation not subject to further appeal, each
Disclosing Party may request the return to it of all documents or other confidential materials
previously furnished to any other party hereunder, including any copies thereof, and each person
or party to whom such documents or other confidential materials have been furnished or
produced shall be obligated to return the same, including any copies, excerpts or notations
thereof, or to dispose of the same and of any other materials containing confidential information
in a manner agreeable to all parties. Within sixty (60) days of final termination of this litigation,
counsel for all Parties shall certify in writing either that: (a) all confidential materials have been
returned to the Disclosing Party as requested; or (b) that they have been destroyed; provided,
however, that outside counsel for the Parties may retain confidential pleadings, court papers, and
written discovery for their files.

16. This Order shall remain in force and effect until modified, superseded or
terminated by further order of the Court or by agreement of the parties, and shall survive the
termination of this action. The entry of this Order shall be without prejudice to the rights of
either Party to apply for additional or different protection where it is deemed necessary, or to

seek to compel the production or disclosure of additional or different information, or the rights of

the Parties to agree between themselves, subject to the Court‘s approval, if necessary, as to any

 

 

Case: 1:10-cv-04603 Document #: 111 Filed: 04/11/12 Page 8 of 10 Page|D #:494

specific additional or different protection or provisions for treatment of any specific information,
documents, testimony or things

l7. Nothing in this Order shall prevent a Party from disclosing or using any of its own
documents, information or things as it deems appropriate; provided, however, that disclosure or
use in a manner inconsistent with the terms of this Order could result in the loss of
confidentiality of the document, information, or thing.

18. Nothing in this Order shall prevent a Party from disclosing or using any
information that is pubic knowiedge, including, but not limited to, any information lawfully
acquired from a third party under no obligation to maintain the confidentiality of the information,
information independently developed by the Disclosing Party, and information known to the

Disclosing Party prior to entry of this Order.

/g %éM/LM ,A W§r-/M

ca5/az ,v,,/z»;,_j },; M%;M ¢,7 @%W¢:/ l
HeW/f§ /F-/i/i/c ,Q*§c'm¢_?f

ref .
so oRi:)ERiso,rhis // dayor 44 ,201£

ages

Ruben Castillo

UNITED STATES DISTRICT JUDGE

 

 

 

Gase: 1:10-cv-04603 Document #: 111 Filed: 04/11/12 Page 9 of 10 Page|D #:495

ExHiBiT “A“
DECLARATION AND AGREEMENT

L , declare under penalty of perj ury pursuant to the laws of the

 

United States of America as follows:

l. I am employed by in the capacity of

 

2. I have read the Stipulated Protective Order Regarding Confidentiality (the “Order”)

entered in the case Lippert v. Ghosh, er al., Case No. 10 C 4603 (N.D_ Ill.).

3. I agree to be bound by the Order, and l agree notl to disclose information protected

by the Order to any person not authorized to receive it.

4. l consent to the jurisdiction of the United States District Court for the Northern

District of Illinois for enforcement of the Order and this Declaration and waive any and all objections

to jurisdiction and venue.

 

 

 

 

Oase: 1:10-cv-04603 Document #: 111 Filed: 04/11/12 Page 10 of 10 Page|D #:496

5. l understand that l may be subject to contempt or other sanctions for the failure to

obey the Order.

Date:

 

By:

Signature:

 

Printed Narne:

 

 

